      Case 3:17-cv-00080-SMR-SBJ Document 68 Filed 10/18/18 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   EASTERN DIVISION

BUSINESS LEADERS IN CHRIST, an                              Case No. 3-17:cv-00080
unincorporated association,

       Plaintiff,

v.

THE UNIVERSITY OF IOWA; LYN                                 MOTION TO WITHDRAW AS
REDINGTON, in her Official Capacity as                      LOCAL COUNSEL BY
Dean of Students and in her Individual                      ATTORNEY PATRICK D.
Capacity; THOMAS R. BAKER, in his                           SMITH
Official Capacity as Assistant Dean of
Students and in his Individual Capacity; and
WILLIAM R. NELSON, in his Official
Capacity as Executive Director, Iowa
Memorial Union, and in his Individual
Capacity,

       Defendants.


       COMES NOW the undersigned attorney, Patrick D. Smith, and files this Motion to

Withdraw as Local Counsel on behalf of Proposed Amicus Curiae Agudath Israel of America,

and in support thereof states as follows:

       1.      The undersigned has been serving as local counsel for Proposed Amicus Curiae

Agudath Israel of America.

       2.      Agudath Israel of America has secured other local counsel to represent it in this

matter. The new local counsel is Matthew F. Heffron, of the Thomas More Society and Brown

& Brown, LLC, 501 Scoular Building, 2027 Dodge Street, Omaha, NE 68102. Mr. Heffron has

entered an appearance as local counsel on behalf of Agudath Israel of America.
      Case 3:17-cv-00080-SMR-SBJ Document 68 Filed 10/18/18 Page 2 of 3



       3.      At this time this Motion to Withdraw is filed, all counsel will be electronically

served a copy of this Motion to Withdraw. At the same time, the undersigned will serve a copy

upon Proposed Amicus Curiae Agudath Israel of America.

       4.      Trial in this case is currently schedule for March 4, 2019. The only pending

motion about which the undersigned is aware is the Motion of Agudath Israel of America for

leave to participate as Amicus Curiae in support of Plaintiff, which was filed January 17, 2018,

but has not yet been ruled upon.

       5.      The requirements for withdraw of counsel under Local Rule 83(d)(6)(A) have

been fully satisfied as set forth in paragraphs 2 through 4 of this Motion.

       6.      The undersigned requests the Court to grant the effective date of withdraw no

later than October 26, 2018.

       WHEREFORE, the undersigned counsel hereby requests the Court to grant this Motion

to Withdraw as Local Counsel for Proposed Amicus Curiae Agudath Israel Of America, effective

no later than October 26, 2018.

                               BRADSHAW, FOWLER, PROCTOR & FAIRGRAVE, P.C.



                               By:     /s/ Patrick D. Smith
                                      Patrick D. Smith AT0007392
                                      801 Grand Avenue, Suite 3700
                                      Des Moines, IA 50309-8004
                                      Phone: (515) 246-5891
                                      Fax: (515) 246-5808
                                      E-Mail: smith.patrick@bradshawlaw.com

                               ATTORNEYS FOR PROPOSED AMICUS CURIAE AGUDATH
                               ISRAEL OF AMERICA




                                                -2-
           Case 3:17-cv-00080-SMR-SBJ Document 68 Filed 10/18/18 Page 3 of 3



Copy to:

Christopher D. Hagenow
Hagenow, Gustoff & Dummermuth, LLP
521 East Locust Street, Suite 302
Des Moines, IA 50309

Eric S. Baxter
Daniel H. Blomberg
The Becket Fund for Religious Liberty
1200 New Hampshire Avenue N.W., Suite 700
Washington, D.C. 20036

Jeffrey S. Thompson
Solicitor General
Hoover Building, Second Floor
1305 East Walnut Street
Des Moines, IA 50319

George A. Carroll
Assistant Attorney General
Hoover Building, Second Floor
1305 East Walnut Street
Des Moines, IA 50319

Robert R. Anderson
P.O. Box 275
Huxley, IA 50124

Matthew F. Heffron
Thomas More Society
Brown & Brown, LLC
501 Scoular Building
2027 Dodge Street
Omaha, NE 68102


                              CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true copy of the foregoing instrument was served upon
one of the attorneys of record for all parties to the above-entitled cause by serving the same on
such attorney at his/her respective address/fax number as disclosed by the pleadings of record
herein, on October 18, 2018 by:
   U.S. Mail                                E-Mail
   Hand Delivered                           CM/ECF
   Federal Express                          Other______________________

   /s/ Donna Henkels




                                                                                -3-
